                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF MISSOURI
                                  CENTRAL DIVISION

DAVID M. ROGOWSKI, and JOYCE THOMAS )
Individually and On Behalf Of All   )
Others Similarly Situated,          )
                                    )                        Case No._______________
                      Plaintiffs,   )
                                    )                        COMPLAINT
vs.                                 )
                                    )                        Class Action
STATE FARM LIFE INSURANCE COMPANY, )
                                    )                        DEMAND FOR JURY TRIAL
                      Defendant.    )
                                CLASS ACTION COMPLAINT

       Plaintiffs David M. Rogowski and Joyce Thomas (“Plaintiffs”), individually and on behalf

of all others similarly situated, for their Class Action Complaint against Defendant State Farm Life

Insurance Company (“Defendant”), state and allege as follows:

                                         INTRODUCTION

       1.      This is a class action for breach of contract and conversion brought by Plaintiffs on

behalf of a class of Missouri owners of the “Form 94030” life insurance product issued and

administered by Defendant.

       2.      Plaintiffs, individually and on behalf of the proposed class, seek to recover amounts

Defendant has wrongfully taken, and continues to take, from policy owners in the wake of a

judgment entered against it concerning conduct identical to that alleged herein. See Vogt v. State

Farm Life Insurance Company, 2:16-CV-04170-NKL (W.D. Mo.) (“Vogt”).

       3.      Form 94030 is a “universal life” insurance policy, the terms of which provide for

an “Account Value” consisting of monies held in trust by Defendant for Plaintiffs and members of

the proposed class. Defendant is contractually bound to deduct from the Account Value only those

charges that are explicitly identified and authorized by the terms of its life insurance policies,

which are fully integrated agreements.



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       4.      Nevertheless, Defendant deducts charges from the Account Values of Plaintiffs and

the proposed class in excess of amounts specifically permitted by their policies. For decades,

Defendant has systematically deducted monies from the Account Values of its Form 94030 policy

owners in breach of the policy’s terms.

       5.      This is the second case brought against Defendant on behalf of a class of Missouri

Form 94030 policy owners regarding Defendant’s unauthorized deductions from policy Account

Values. Filed in this district more than five years ago, the Vogt case involved a class of current and

former Missouri Form 94030 policy owners (including Plaintiffs) alleging claims of breach and

conversion arising from Defendant’s inclusion of certain undisclosed “loads” in the “Monthly Cost

of Insurance Rates” it used to calculate the monthly “Cost of Insurance Charges” taken from policy

owner Account Values.

       6.      Ultimately, the United States District Court for the Western District of Missouri

determined that, under Missouri law, Defendant had violated the terms of its Form 94030 policies,

and a jury subsequently returned a verdict in excess of $34 million resulting from Defendant’s

breaches and wrongful conversion of monies rightfully belonging to the Missouri class. A

judgment was then entered by the trial court and subsequently affirmed on appeal by the Eighth

Circuit Court of Appeals, and Defendant’s petition for writ of certiorari to the United States

Supreme Court was denied.

       7.      Nevertheless, even after a finding of its past wrongful conduct as a matter of

Missouri law, which included a declaratory judgment entered against it, Defendant has ignored the

judgment and continued to impermissibly load the Cost of Insurance Charges it deducts from

Account Values of Missouri Form 94030 owners.

       8.      Defendant’s conduct has caused, and continues to cause, material harm to Plaintiffs

and the proposed class by wrongfully draining monies they have accumulated in the Account

Values of their policies. Every unauthorized dollar taken from policy owners is one less dollar that

can be used to: invest through the policy; pay future premiums; increase the death benefit; use as

collateral for policy loans; or withdraw as cash. And because each Form 94030 policy can stay in-

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force only so long as the Account Value is sufficient to cover future monthly Cost of Insurance

Charges, Defendant’s conduct of impermissibly loading Monthly Cost of Insurance Rates causes

the premature lapse of policies or forces policy owners to make substantial additional payments to

retain their policies.

                                             PARTIES

        9.      Plaintiff David M. Rogowski is an individual residing in the State of Missouri and

a citizen of the State of Missouri.

        10.     Plaintiff Joyce Thomas is an individual residing in the State of Missouri and a

citizen of the State of Missouri.

        11.     Defendant State Farm Life Insurance Company is a life insurance company

organized and existing under the laws of the State of Illinois, and maintains its principal place of

business in Bloomington, Illinois. Defendant is registered to do business in the State of Missouri

and has a registered office located at 221 Bolivar Street, Jefferson City, MO 65101. Over the years

Defendant sold approximately 24,000 Form 94030 policies to Missourians.

        12.     Plaintiffs bring this case as a class action under Fed. R. Civ. P. 23, on behalf of

themselves and as representatives of the following persons (the “Class”): All persons who own or

owned on or after June 7, 2018, a universal life insurance policy issued by Defendant on its policy

Form 94030 in the State of Missouri.

                                    JURISDICTION AND VENUE

        13.     This Court has jurisdiction over all causes of action asserted herein pursuant to 28

U.S.C. § 1332(d) because this is a class action with diversity of citizenship between parties and

the matter in controversy exceeds $5,000,000, exclusive of interest and costs, and the proposed

Class contains more than 100 members.

        14.     Venue is proper in this Court pursuant to 28 U.S.C. § 1391 because Defendant is a

resident of this District and a substantial portion of the events giving rise to Plaintiffs’ causes of

action occurred in this District. Likewise venue is proper in this Division pursuant to L.R. 3.2(b)(1)

because Defendant has a registered office located at 221 Bolivar Street, Jefferson City, MO 65101.

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                                     GENERAL ALLEGATIONS

          15.     Plaintiff Rogowski purchased from Defendant a flexible premium adjustable whole

life insurance Form 94030 policy bearing the policy number LF-2135-4466, and a policy date of

February 17, 2004, with a basic amount of $50,000. Plaintiff Rogowski has always been the owner

of this policy.

          16.     Plaintiff Thomas purchased from Defendant a flexible premium adjustable whole

life insurance Form 94030 policy bearing the policy number LF-2083-6867, and a policy date of

June 7, 2003, with a basic amount of $50,000. Plaintiff Thomas has always been the owner of this

policy.

          17.     A true and accurate copy of the terms of the Form 94030 policy owned by Plaintiffs

is attached hereto as Exhibit A and incorporated herein by reference.

          18.     Defendant has administered and currently administers all aspects of the Form 94030

policies issued to Plaintiffs, and the policies meeting the class definition set forth above

(collectively, the “Policies”), including collecting premiums, and setting, assessing, and deducting

policy charges.

          19.     Defendant is the effective and liable insurer of the Policies.

          20.     The Policies are valid and enforceable contracts between Plaintiffs and the

proposed class members, on the one hand, and Defendant, on the other.

          21.     Each of the Policies provide: “The [P]olicy is the entire contract,” and it consists of

“the Basic Plan, any amendments, endorsements, and riders, and a copy of the application.” Ex. A

at p. 11.

          22.     The terms of the Policies are not subject to individual negotiation and are materially

the same for all policyholders. They cannot be altered by an agent’s representations at the time of

sale.

          23.     “Only an officer has the right to change this policy. No agent has the authority to

change the policy or to waive any of its terms. All endorsements, amendments, and riders must be

signed by an officer to be valid.” Ex. A at p. 11.

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       24.      In addition to a death benefit, the Policies provide policy owners a savings, or

interest-bearing, component that is identified in the Policies as the “Account Value.”

       25.      Generally speaking, premium dollars are deposited into the Account Value, from

which Defendant deducts those monthly charges authorized by the terms of the Policies. The

Account Value earns interest as provided by the Policies.

       26.      The money that makes up the Account Value is the property of the policy owner

and is held in trust by Defendant.

       27.      Defendant may access and withdraw funds from the Account Value only as

expressly authorized by the Policies.

       28.      The Policies expressly define the specific charges that Defendant may assess and

deduct from a given policy owner’s premium payments and the accumulated Account Value.

Defendant may deduct only those charges allowed by the Policies.

       29.      Under the express terms of the Policies, a “premium expense charge” is taken from

each premium payment in the amount of 5% of each premium paid. Ex. A at p. 3.

       30.      The Account Value is equal to 95% of the initial premium less the monthly

deduction for the first policy month, and thereafter:

             The account value on any deduction date after the policy date is the account value on
             the prior deduction date:

                (1)     plus 95% of any premiums received since the prior deduction date,
                (2)     less the deduction for the cost of insurance for any increase in Basic
                        Amount and the monthly charges for any riders that became
                        effective since the prior deduction date,
                (3)     less any withdrawals since the prior deduction date,
                (4)     less the current monthly deduction,
                (5)     plus any dividend paid and added to the account value on the current
                        deduction date, and
                (6)     plus any interest accrued since the prior deduction date.

             The account value on any other date is the account value on the prior
             deduction date:

                (1)     plus 95% of any premiums received since the prior deduction date,


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                 (2)    less the deduction for the cost of insurance for any increase in Basic
                        Amount and the monthly charges for any riders that became
                        effective since the prior deduction date,
                 (3)    less any withdrawals since the prior deduction date, and
                 (4)    plus any interest accrued since the prior deduction date.
Ex. A at p. 9.

       31.       The “Policy Date” is “[t]he effective date of this Policy,” and the “Deduction Date”

is “[t]he policy date and each monthly anniversary of the policy date.” Ex. A at p. 5.

       32.       The Policies authorize Defendant to take a “Monthly Deduction” from each policy

owner’s Account Value each month. Ex. A at p. 9.

       33.       The Policies expressly define the Monthly Deduction as follows:

             Monthly Deduction. This deduction is made each month, whether or not
             premiums are paid, as long as the cash surrender value is enough to cover that
             monthly deduction. Each deduction includes:
                (7)    the cost of insurance,
                (8)    the monthly charges for any riders, and
                (9)    the monthly expense charge.
Ex. A at p. 9.

       34.       The Policies state that the monthly expense charge (“Expense Charge”) is $5.00.

Ex. A at p. 3.

       35.       The Policies also expressly define how the charge for the Policy’s “Cost of

Insurance” (“Cost of Insurance Charge”) is determined and calculated:

             Cost of Insurance. This cost is calculated each month. The cost is determined
             separately for the Initial Basic Amount and each increase in Basic Amount.

             The cost of insurance is the monthly cost of insurance rate times the difference
             between (1) and (2), where:
                  (1)    is the amount of insurance on the deduction date at the start of the
                         month divided by 1.0032737, and
                  (2)    is the account value on the deduction date at the start of the month
                         before the cost of insurance and the monthly charge for any waiver
                         of monthly deduction benefit rider are deducted.
             Until the account value exceeds the Initial Basic Amount, the account value is
             part of the Initial Basic Amount. Once the account value exceeds that amount,
             if there have been any increases in Basic Amount, the excess will be part of the
             increases in order in which the increases occurred.


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Ex. A at p. 10.

       36.        The Policies specify the factors Defendant may use to determine “Monthly Cost of

Insurance Rates,” which are used to calculate the Cost of Insurance Charges that are deducted from

the Account Value each month:

             Monthly Cost of Insurance Rates. These rates for each policy year are based
             on the Insured’s age on the policy anniversary, sex, and applicable rate class. A
             rate class will be determined for the Initial Basic Amount and for each increase.
             The rates shown on page 4 are the maximum monthly cost of insurance rates
             for the Initial Basic Amount. Maximum monthly cost of insurance rates will be
             provided for each increase in the Basic Amount. We can charge rates lower than
             those shown. Such rates can be adjusted for projected changes in mortality but
             cannot exceed the maximum monthly cost of insurance rates. Such adjustments
             cannot be made more than once a calendar year.
Ex. A at p. 10.

       37.        Defendant admits that a rate “based on” factors explicitly identified in the Policies

must be determined using only those identified factors. See Alleman v. State Farm Life Ins. Co.,

334 Fed. Appx. 470, 472 (3rd Cir. 2009) (affirming summary judgment in State Farm’s favor, and

rejecting plaintiff insured’s argument that provision in life insurance policy stating charge would

be “based on the Insured’s age last birthday and sex” should be read to include other undisclosed

factors, because “[b]y the plain language of these policies, it is clear that the insureds’ age and sex

are the only mortality factors relevant to the rate ….” (emphasis added)).

       38.        Thus, under the explicit terms of the Policies, Defendant is authorized to determine

Monthly Cost of Insurance Rates for each policy year using only the Insured’s age, sex, applicable

rate class, and projected changes in mortality. Ex. A. at p. 10.

       39.        Age, sex, and rate class are factors commonly understood as mortality factors used

to determine the mortality expectations of an insured or group or class of insureds. See Vogt, 963

F.3d 753, 760 (8th Cir. 2020), cert. denied, 209 L. Ed. 2d 577 (Apr. 19, 2021) (“These enumerated

factors are so-called ‘mortality factors’ because they relate to a policyholder’s mortality risk,

which allows the insurer to determine the projected mortality estimate of a policyholder based on

his specific circumstances.”).

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        40.     By specifically identifying Monthly Cost of Insurance Rates for each policy year

as based on age, sex, and rate class, Defendant agrees that mortality expectations determine the

Monthly Cost of Insurance Rates under the Policies, as confirmed by the additional provision that

“[s]uch rates can be adjusted for projected changes in mortality.” Ex. A at p. 10.

        41.     Given the language of the Monthly Cost of Insurance Rates provision in the

Policies, and its context in the Policies as a whole, no reasonable layperson would expect that the

Policies permitted Defendant to use any factor it wanted to determine Monthly Cost of Insurance

Rates for the Policies. A reasonable layperson would instead read policy year, age, sex, and rate

class, in combination with the contractual limitation that rates can only be adjusted for “projected

changes in mortality,” to mean that only mortality expectations are used to determine Monthly

Cost of Insurance Rates for the Policies. See Vogt, 963 F.3d at 763-764 (concluding the Form

94030 Monthly Cost of Insurance Rate language “is at least ambiguous” and “must be construed

in favor of Vogt;” and further concluding “a person of ordinary intelligence purchasing an

insurance policy would not read the provision and understand that where the policy states that the

COI fees will be calculated ‘based on’ listed mortality factors that the insurer would also be free

to incorporate other, unlisted factors into this calculation.”).

        42.     Thus, the Policies authorize Defendant to make periodic deductions from policy

owners’ Account Values including, specifically, Cost of Insurance Charges that are calculated

using rates that Defendant must determine based on specified factors, and that can be adjusted for

projected changes in mortality.

        43.     On June 2, 2018, partial summary judgment was entered in favor of a Missouri

class of Form 94030 policy owners in Vogt on the issue of liability as to State Farm’s breach of

the Monthly Cost of Insurance Rate provisions. In doing so, the Vogt court found:

        Plaintiff is entitled to partial summary judgment on [his breach of contract counts]
        and the corresponding claims for declaratory judgment. The Court has already ruled
        that State Farm was not permitted to take non-mortality factors, including expenses,
        into account in setting monthly COI rates. State Farm has admitted that it did
        so…Plaintiff has established, as to both the [Cost of Insurance] provision and the

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       expense charge provision, (1) the existence of a valid contract, (2) State Farm’s
       obligation under the contract, and (3) State Farm’s violation of its obligation.
Vogt, No. 2:16-CV-04170-NKL, Dkt. 335 (June 2, 2018) (internal citation omitted).

       44.     A trial on damages resulted in a jury verdict in an amount in excess of $34 million

on plaintiff Vogt’s claims for breach of contract and conversion. Defendant appealed the judgment,

which was affirmed by the Eighth Circuit Court of Appeals. And Defendant’s petition for writ of

certiorari to the United States Supreme Court was denied.

       45.     According to the Vogt court’s determination, Defendant is not authorized to load

its Monthly Cost of Insurance Rates with non-mortality factors. Nonetheless, Defendant continues
to load its Monthly Cost of Insurance Rates for Form 94030 with non-mortality factors, not

authorized by the Policies, including, without limitation, expenses and profit assumptions.

       46.     By loading its Monthly Cost of Insurance Rates in excess of rates determined using

the Policy-identified factors, Defendant is knowingly defying the Vogt court’s declaratory

judgment and causing Monthly Cost of Insurance Rates for the Policies to be greater than the

Policies explicitly authorize. As a result, Defendant continues to withdraw Cost of Insurance

Charges from policy owner Account Values in amounts greater than what is permitted by the

Policies, and this Court’s prior judgment.

       47.     As a direct and proximate result of Defendant’s conduct, Plaintiffs and the Class

have been damaged, and those damages are continuing in nature in that Defendant deducted and

will continue to deduct unauthorized Cost of Insurance Charges from policy owners’ Account

Values.

       48.     Defendant’s conduct is intentional and willful. Defendant has not taken any steps

to remove non-mortality loads from Plaintiffs’ Monthly Cost of Insurance Rates and Monthly Cost

of Insurance Charges. Plaintiffs are therefore forced to continue suffering the unlawful deductions

or lose the life insurance they have been paying for since at least 2003. Defendant’s conversion

justifies punitive damages.




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                                   CLASS ALLEGATIONS

       49.     Plaintiffs bring this case as a class action under Fed. R. Civ. P. 23, on behalf of

themselves and as representatives of the following Class:

       All persons who own or owned on or after June 7, 2018, a universal life insurance
       policy issued by Defendant on its policy Form 94030 in the State of Missouri.

Excluded from the Class is the Defendant, any entity in which the Defendant has a controlling

interest, any of the officers, directors, or employees of the Defendant, the legal representatives,

heirs, successors, and assigns of the Defendant, any State Farm independent contractor insurance

agents, anyone employed with Plaintiffs’ counsel’s firms, and any Judge to whom this case is

assigned, and his or his immediate family. The Class satisfies the numerosity, commonality,
typicality, adequacy, and superiority requirements of a class action under Rule 23, as set forth

more fully herein. Moreover, Plaintiffs and the class expressly disclaim and do not seek damages

or interest that were awarded and affirmed on appeal in Vogt, which was collected as part of the

Vogt judgment.

       50.     The persons who fall within the Class number in the thousands, and thus the

numerosity standard is satisfied. Because Class members are geographically dispersed across the

state, joinder of all Class members in a single action is impracticable. Class members may be

informed of the pendency of this class action through direct mail.
       51.     There are questions of fact and law common to the Class that predominate over any

questions affecting only individual members. The questions of law and fact common to the Class

arising from Defendant’s actions since the Vogt judgment include, without limitation:

             a. Whether Defendant has continued to add loads not specified in the Class Policies
                when determining the Monthly Cost of Insurance Rates used to calculate Cost of
                Insurance Charges;

             b. Whether Defendant has continued to charge amounts in excess of those
                specifically authorized by the Class Policies;

             c. Whether the Class has sustained damages as a result of Defendant’s continued
                misconduct; and


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              d. Whether the Class is entitled to damages, restitution, punitive damages and/or
                 other relief as a remedy for Defendant’s breaches of contract and conversion.

        52.     The questions set forth above predominate over any questions affecting only

individual persons, and a class action is superior with respect to considerations of consistency,

economy, efficiency, fairness, and equity to other available methods for the fair and efficient

adjudication of the claims asserted herein.

        53.     Plaintiffs’ claims are typical of those of the Class in that Class members purchased

policies containing the same limitations on the amounts that Defendant could charge its

policyholders under the express terms of the Policies.
        54.     A class action is the appropriate method for the fair and efficient adjudication of

this controversy. Defendant has acted or refused to act on grounds generally applicable to the

Class. The presentation of separate actions by individual Class members would create a risk of

inconsistent and varying adjudications, establish incompatible standards of conduct for Defendant,

and/or substantially impair or impede the ability of Class members to protect their interests.

        55.     Plaintiffs are adequate representatives of the Class because they are members of the

Class and their interests do not conflict with the interests of those they seek to represent. The

interests of the Class members will be fairly and adequately protected by Plaintiffs and their

counsel, who have extensive experience prosecuting complex class litigation.

        56.     Maintenance of this action as a class action is a fair and efficient method for

adjudicating this controversy. It would be impracticable and undesirable for each member of the

Class who suffered harm to bring a separate action. In addition, the maintenance of separate actions

would place a substantial and unnecessary burden on the courts and could result in inconsistent

adjudications, while a single class action can determine, with judicial economy, the rights of all

Class members.

                             COUNT I: BREACH OF CONTRACT
        57.     Plaintiffs incorporate and restate by reference Paragraphs 1 through 56 as though

fully set forth herein.


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          58.   Plaintiffs and the Class purchased life insurance policies—the Policies—from

Defendant.

          59.   The Policies are valid and enforceable contracts between Plaintiffs and the Class,

and Defendant.

          60.   Plaintiffs and the Class substantially performed their obligations under the terms of

the Policies.

          61.   By loading unauthorized factors into Monthly Cost of Insurance Rates, Defendant

knowingly causes those rates to be higher than what is explicitly authorized by the Policies.

          62.   Because Defendant calculates Cost of Insurance Charges using loaded Monthly

Cost of Insurance Rates, Defendant has deducted, and continues to deduct, Cost of Insurance

Charges from the Account Values of Plaintiffs and the Class in amounts greater than those

authorized by their Policies.

          63.   Defendant’s practice of deducting charges in amounts not authorized by the Policies

constitutes a breach.

          64.   As a direct and proximate result of Defendant’s breach, Plaintiffs and the Class

have been damaged.
                                   COUNT II: CONVERSION

          65.   Plaintiffs incorporate and restate Paragraphs 1 through 64 as though fully set forth

herein.

          66.   Plaintiffs and the Class have a property interest in the funds Defendant deducts

from their Account Values in excess of the amounts permitted by the terms of the Policies.

          67.   By deducting charges in unauthorized amounts from the Account Values of

Plaintiffs and the Class, Defendant misappropriates or misapplies specific funds placed in the

custody of Defendant for the benefit of Plaintiffs and the Class for use consistent with the terms

of the Policies, without authorization or consent, and diverts those funds for its own use.

          68.   As a direct and proximate result of Defendant’s conduct, Plaintiffs and the Class

have been damaged and continue to be damaged.

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        69.        Although requiring expert testimony, the amounts of unauthorized charges

Defendant takes from Plaintiffs and the Class are capable of determination, to an identified sum,

by comparing Plaintiffs’ actual Cost of Insurance Charge each month to a Cost of Insurance Charge

computed using a Monthly Cost of Insurance Rate determined using the mortality factors disclosed

in the Policies.

        70.        On behalf of himself and the Class, Plaintiffs seek all damages and consequential

damages proximately caused by Defendant’s conduct.

        71.        Defendant intended to cause damage to the Plaintiffs and the Class by deducting

more than it was authorized to deduct from their Account Values. Defendant has continued to

engage in the same conduct found wrongful under Missouri law in Vogt concerning the same

policy form owned by Missouri policy owners. Its conduct is, therefore, malicious and Defendant

is also guilty of oppression in that its systematic acts of conversion subject Plaintiffs and the Class

to cruel and unjust hardship in conscious disregard of their rights. Plaintiffs and the Class are

therefore entitled to punitive or exemplary damages.
                                       PRAYER FOR RELIEF

        WHEREFORE, Plaintiffs, individually and on behalf of all others similarly situated,

request relief as follows: an order certifying this case as a class action under Fed. R. Civ. P. 23;

compensatory damages in an amount to be proven at trial; costs; pre- and post-judgment interest

at the maximum rate allowed by law; attorney’s fees; punitive or exemplary damages;

disgorgement; and such other legal and equitable relief as the Court deems proper.

                                   DEMAND FOR JURY TRIAL

        Plaintiffs hereby request a trial by jury of all issues so triable.




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DATED this 25th day of March, 2022.
                                           Respectfully submitted,
                                           /s/ John J. Schirger
                                           John J. Schirger      (MO Bar # 60583)
                                           jschirger@millerschirger.com
                                           Matthew W. Lytle      (MO Bar # 59145)
                                           mlytle@millerschirger.com
                                           Joseph M. Feierabend (MO Bar # 62563)
                                           jfeierabend@millerschirger.com
                                           MILLER SCHIRGER, LLC
                                           4520 Main Street, Suite 1570
                                           Kansas City, Missouri 64111
                                           Tel: 816-561-6500
                                           Fax: 816-714-7101

                                           Norman E. Siegel     (MO Bar # 44378)
                                           siegel@stuevesiegel.com
                                           Bradley T. Wilders (MO Bar # 60444)
                                           wilders@stuevesiegel.com
                                           Lindsay Todd Perkins (MO Bar # 60004)
                                           perkins@stuevesiegel.com
                                           Ethan M. Lange       (MO Bar # 67857)
                                           lange@stuevesiegel.com
                                           David A. Hickey      (MO Bar # 62222)
                                           hickey@stuevesiegel.com
                                           STUEVE SIEGEL HANSON LLP
                                           460 Nichols Road, Suite 200
                                           Kansas City, Missouri 64112
                                           Tel: 816-714-7100
                                           Fax: 816-561-6501

                                           Attorneys for Plaintiffs




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